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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

FORT SILL APACHE TRIBE,                                No.: 1:14-cv-000958-RMC

                  Plaintiff,

       vs.                                             FEDERAL DEFENDANTS’ CONSENT
                                                       MOTION FOR EXTENSION OF TIME

NATIONAL INDIAN GAMING
COMMISSION, et al.,

                  Defendants.




       Federal Defendants respectfully request that this Court grant an extension of time to file their

response to Plaintiffs’ motion for summary judgment (ECF No. 115) and the other related briefing

deadlines. Plaintiffs’ counsel has consented to the requested extension. The grounds for the request

are as follows:

1.     Under the current schedule, Federal Defendants’ response to Plaintiffs’ Motion for Summary

Judgment is due May 31, 2019. Some of the attorneys that will need to review and approve Federal

Defendants’ response will be unavailable at the end of May due to pre-existing personal and

professional commitments, and will be unable to provide the necessary reviews and approvals of the

response before filing on May 31.

2.     In addition, the undersigned counsel’s section of the Department of Justice will be relocating

to new office space on June 14, 2019. Undersigned counsel and other attorneys at the Department of

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Justice who will need to review and approve Federal Defendants’ response will be engaged in the

preparation for the move in early June 2019. In addition, it is expected that there will be a short

period of transition to the new office when computer and internet service may be interrupted or

experiencing technical issues, thereby impacting undersigned counsel’s ability to draft and edit the

response. The proposed extension incorporates time to allow for any of those issues to be resolved

prior to filing.

3.      Accordingly, Federal Defendants request that the briefing schedule set out in the Court’s

April 8, 2019 Minute Order be modified as follows:

        Federal Defendants’ Response to Plaintiffs’ Motion for Summary Judgment and Cross-
        Motion for Summary Judgment shall be filed on or before June 19, 2019;

        Plaintiffs’ Response to Federal Defendants’ Cross-Motion and Reply in Support of Plaintiff’s
        Motion for Summary Judgment shall be filed on or before August 2, 2019;

        Federal Defendants’ Reply in Support of its Cross-Motion shall be filed on or before August
        16, 2019.

4.      The extension will not prejudice either Plaintiff or the Federal Defendants.

A Proposed Order is attached.



Respectfully submitted
                                              JEAN E. WILLIAMS
                                              Deputy Assistant Attorney General

BY:                                           /s/Brian Collins
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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 17th day of May, 2019, the foregoing Consent Motion For

Extension of Time was filed with the Court’s CM/ECF system, which will send notification to

counsel of record in this matter who are registered with the Court’s CM/ECF system.



                                            /s/ Brian Collins

                                           Brian Collins




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